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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: :
: Chapter 11
M TS INCORPORATED, a California
corporation,
Case No. 04-10394 (BLS)

Debtor. :
: Re: Docket No. 566

ORDER ENTERING FINAL DECREE CLOSING
THE DEBTOR’S CHAPTER 11 CASE

This matter coming before the Court on the Motion of the Debtor for an
Order Entering Final Decree Closing the Debtor’s Chapter 11 Case (the “Motion”) filed
by the above-captioned debtor (the “Debtor”); the Court having reviewed the Motion and
all pleadings relating thereto; the Court finding that: (a) the Court has jurisdiction over
this matter pursuant to 28 U.S.C. §§ 157 and 1334, Article 12 of the Plan and paragraph
16 of the Confirmation Order; (b) this is a core proceeding pursuant to 28 U.S.C. §
157(b\(2); and (c) notice of the Motion and the Hearing was sufficicnt under the
circumstances; and the Court having determined that the legal and factual bases set forth
in the Motion cstablish just cause for the relief granted herein;

IT 1S HEREBY ORDERED THAT:

1. The Motion is GRANTED.

2. Capitalized terms not otherwise defined herein have the meanings
given to them in the Motion.

3. The chapter 11 case of the Debtor is hereby closed, pursuant to
section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022 and Local Rule 3009-1,

4, Notwithstanding the closure of the Remaining Casc, the Court

expressly retains jurisdiction to: (a) enforce any of its orders issued in the Remaining

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Case; (b) enforce the terms and conditions of the Plan; (c) resolve any claim objections or
other disputes relating to the Debtor; and (d) consider any proper requests to reopen the

Remaining Case under section 350(b) of the Bankruptcy Code.

Datede gf (AX 2008

Wilmington, Delaware Rye Q ; 5

THE HONORABLE BRENDAN LINEHAN SHANNON
UNITED STATES BANKRUPTCY JUDGE

 

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